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                     915.778.9221 or 800.772.4328 USA




                 LM ENDEAVOR LLC
                 13781 KENTWOOD PRIVATE RD
                 EL PASO TX 79928 9117




       Account Number:
       Statement Date:                     03/31/22
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***************************************************** Checking Account                                         ******************************************
 All Transactions by Date
      Date Description                                                                                   Amount                           Balance
      02/28 Balance Forward-------------------------------------------------------------------------------------------->                 38,464.60
      03/01 XPRESS FUEL #1262 CLINT                   TX                                                       10.17-                    38,454.43
      03/01 CHECK NUMBER                  1549                                                               676.80-                     37,777.63
      03/01 CHECK NUMBER                  1545                                                               576.45-                     37,201.18
      03/01 To Tax account Feb 25 Deposit                                                                  4,326.00-                     32,875.18
      03/01 To Tax Acc Feb28 Deposit                                                                       7,468.00-                     25,407.18
      03/01 Credit Card Payment                                                                            1,500.00-                     23,907.18
      03/01 TRANSFER TO LN XXXXXX1478                                                                        273.00-                     23,634.18
      03/01 TRANSFER TO LN XXXXXX1479                                                                        266.00-                     23,368.18
      03/01 EVOLVE FEDERAL CRED                                                                              759.69-                     22,608.49
      03/01 Check Number            1555                                                                   3,097.00-                     19,511.49
      03/01 Check Number            1556                                                                   2,000.00-                     17,511.49
      03/01 Check Number            1553                                                                     556.45-                     16,955.04
      03/02 LOVES CNTRY ST              EL PASO        TX                                                      53.00-                    16,902.04
      03/02 LOVES CNTRY ST              EL PASO        TX                                                      90.00-                    16,812.04
      03/02 LOVES CNTRY ST              EL PASO        TX                                                        4.31-                   16,807.73
      03/02 LOVES CNTRY ST              EL PASO        TX                                                      40.00-                    16,767.73
      03/02 LOVES CNTRY ST              EL PASO        TX                                                      40.00-                    16,727.73
      03/02 LOVES CNTRY ST              EL PASO        TX                                                      19.97-                    16,707.76
      03/02 WHITE CAP #051                                                                                     65.74-                    16,642.02
      03/02 BRIDGESTONE HOSEPOW                                                                                63.56-                    16,578.46
      03/02 Check Number            1548                                                                     599.20-                     15,979.26
      03/02 Check Number            1430                                                                     300.00-                     15,679.26
      03/03 ALON DK # 11995 GAT EL PASO                 TX                                                     19.00-                    15,660.26
      03/03 ALON DK # 11995 GAT EL PASO                 TX                                                     65.00-                    15,595.26
      03/03 Check Number            1552                                                                     759.30-                     14,835.96
      03/04 VERMEER SALES SW-AZ                                                                              589.51-                     14,246.45
      03/04 Check Number            1559                                                                     399.96-                     13,846.49
      03/04 Check Number            1546                                                                     396.18-                     13,450.31
      03/05 Leo Week Salary                                                                                1,000.00-                     12,450.31
      03/05 T-MOBILE 150 S DAR EL PASO                 TX                                                      54.75-                    12,395.56
      03/06 CIRCLE K # 41272 10 SOCORRO                 TX                                                     75.08-                    12,320.48
      03/06 WHOLESALE LUMBER El Paso                    TX                                                     18.46-                    12,302.02
      03/06 O'REILLY AUTO PARTS SOCORRO                     TX                                                 51.67-                    12,250.35
      03/07 MINICONCRETE MATERI                                                                              503.37-                     11,746.98
      03/07 VERMEER SALES SW-AZ                                                                              197.17-                     11,549.81
      03/07 VERMEER SALES SW-AZ                                                                              113.66-                     11,436.15
                                                       ------------ Continued -------------
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************************************************* Checking Account                           *********************************************
      Date Description                                                                      Amount                          Balance
      03/07 DCRI              8443513945                                                       150.00-                     11,286.15
      03/07 LOVES CNTRY ST              EL PASO       TX                                         40.00-                    11,246.15
      03/07 LOVES CNTRY ST              EL PASO       TX                                         62.41-                    11,183.74
      03/07 LOVES CNTRY ST              EL PASO       TX                                         80.01-                    11,103.73
      03/07 NNT CMC CONST SRVCS EL PASO                   TX                                     44.39-                    11,059.34
      03/07 Deposit                                                                          4,931.30                      15,990.64
      03/07 Speedway 13891 Hor Horizon City TX                                                   74.00-                    15,916.64
      03/07 SOCORRO ACE HARDWAR                                                                  23.79-                    15,892.85
      03/07 Check Number            1566                                                       459.44-                     15,433.41
      03/07 Check Number            1562                                                       217.02-                     15,216.39
      03/07 Check Number            1565                                                       639.98-                     14,576.41
      03/08 To Tax Saving Account                                                            1,479.00-                     13,097.41
      03/08 HORIZON                EL PASO        TX                                              9.30-                    13,088.11
      03/08 HORIZON                EL PASO        TX                                             74.00-                    13,014.11
      03/08 HORIZON                EL PASO        TX                                             74.00-                    12,940.11
      03/08 Check Number            1558                                                       250.00-                     12,690.11
      03/08 Check Number            1567                                                       556.45-                     12,133.66
      03/09 CHECK NUMBER                  1560                                                 576.45-                     11,557.21
      03/09 AUTOZONE 3067              HORIZON CITY TX                                           10.81-                    11,546.40
      03/09 LOVES CNTRY ST              EL PASO       TX                                         20.12-                    11,526.28
      03/09 PDS*CITY OF EL PASO                                                                   8.29-                    11,517.99
      03/09 PDS*CITY OF EL PASO                                                                418.67-                     11,099.32
      03/09 PDS*CITY OF EL PASO                                                                198.18-                     10,901.14
      03/09 PDS*CITY OF EL PASO                                                                   3.92-                    10,897.22
      03/10 LOVES CNTRY ST              EL PASO       TX                                         97.32-                    10,799.90
      03/10 CHECK NUMBER                  1564                                                 676.80-                     10,123.10
      03/10 LOVES CNTRY ST              EL PASO       TX                                         90.00-                    10,033.10
      03/10 LOVES CNTRY ST              EL PASO       TX                                         60.01-                     9,973.09
      03/10 LOVES CNTRY ST              EL PASO       TX                                          2.18-                     9,970.91
      03/10 Check Number            1557                                                       909.33-                      9,061.58
      03/11 Deposit                                                                          5,119.87                      14,181.45
      03/11 Deposit                                                                          6,977.27                      21,158.72
      03/11 Deposit                                                                          2,337.30                      23,496.02
      03/11 Deposit                                                                          4,140.00                      27,636.02
      03/11 AGILE PREMIUM FINAN                                                              1,023.96-                     26,612.06
      03/11 Check Number            1561                                                       391.09-                     26,220.97
      03/11 Check Number            1563                                                       540.04-                     25,680.93
      03/12 CIRCLE K # 41253 22 EL PASO               TX                                         75.00-                    25,605.93
      03/12 CIRCLE K # 41253 EL PASO                 TX                                        100.00-                     25,505.93
      03/12 CIRCLE K 06089 9497 EL PASO               TX                                         75.00-                    25,430.93
      03/13 ALON DK # 9635 MCCO EL PASO                 TX                                       13.81-                    25,417.12
      03/14 TACO BELL 001700174                                                                  98.13-                    25,318.99
      03/14 CHURCHS CHICKEN - 0                                                                  45.43-                    25,273.56
      03/14 KRISPY KREME #144                                                                    23.77-                    25,249.79
      03/14 DCRI              D000102053                                                       150.00-                     25,099.79
      03/14 Leo week salary                                                                  1,000.00-                     24,099.79
      03/14 LOVES CNTRY ST              EL PASO       TX                                         50.00-                    24,049.79
      03/14 LOVES CNTRY ST              EL PASO       TX                                         91.07-                    23,958.72
      03/14 LOVES CNTRY ST              EL PASO       TX                                         80.03-                    23,878.69
      03/14 CHECK NUMBER                  1572                                                 676.80-                     23,201.89
      03/14 VALENTINES BAKERY D                                                                  51.69-                    23,150.20
      03/14 Check Number            1575                                                       556.45-                     22,593.75
      03/14 Check Number            1570                                                       390.18-                     22,203.57
      03/14 Check Number            1574                                                       376.33-                     21,827.24
      03/14 Check Number            1573                                                       677.40-                     21,149.84
      03/15 To Tax Saving Acc                                                                5,500.00-                     15,649.84
      03/15 LOVES CNTRY ST              EL PASO       TX                                       125.00-                     15,524.84
      03/15 CHECK NUMBER                  1568                                                 576.45-                     14,948.39
      03/15 Cashier's Check Fee                                                                   5.00-                    14,943.39
                                                   ------------ Continued -------------
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************************************************* Checking Account                           *********************************************
      Date Description                                                                      Amount                          Balance
      03/15 Withdrawal                                                                       1,500.00-                     13,443.39
      03/15 Stop Payment Fee                                                                     29.50-                    13,413.89
      03/15 AUTOZONE 3067              HORIZON CITY TX                                           14.06-                    13,399.83
      03/15 Speedway 13891 Hor Horizon City TX                                                   74.00-                    13,325.83
      03/15 Speedway 13891 Hor Horizon City TX                                                   74.00-                    13,251.83
      03/15 Speedway 13891 Hor Horizon City TX                                                   74.00-                    13,177.83
      03/15 Speedway 13891 Hor Horizon City TX                                                   74.00-                    13,103.83
      03/15 CIRCLE K # 41253                                                                     76.98-                    13,026.85
      03/15 MCW#0362-GEORGE DIE                                                                  12.00-                    13,014.85
      03/15 CIRCLE K # 41253                                                                   100.00-                     12,914.85
      03/15 Check Number            1577                                                     2,000.00-                     10,914.85
      03/16 MURPHY EXPRESS                EL PASO      TX                                        25.01-                    10,889.84
      03/16 O'REILLY AUTO PARTS SOCORRO                   TX                                   186.73-                     10,703.11
      03/16 O'REILLY AUTO PARTS SOCORRO                   TX                                   138.17-                     10,564.94
      03/16 GCC SUN CITY SECTIO                                                                  12.31-                    10,552.63
      03/17 GECU Loan                                                                          271.30-                     10,281.33
      03/17 F550 Pymnt                                                                         264.47-                     10,016.86
      03/17 ALON DK # 1330 N. Z EL PASO               TX                                         52.02-                     9,964.84
      03/17 ALON DK # 1330 N. Z EL PASO               TX                                         75.00-                     9,889.84
      03/17 GCC SUN CITY SECTIO                                                                  76.98-                     9,812.86
      03/17 Check Number            1578                                                     1,500.00-                      8,312.86
      03/17 Check Number            1571                                                       550.13-                      7,762.73
      03/18 Loan from Tax Saving Acc.                                                       10,000.00                      17,762.73
      03/18 VERMEER SALES SW-AZ                                                              1,761.73-                     16,001.00
      03/18 VERMEER SALES SW-AZ                                                              2,051.18-                     13,949.82
      03/18 Check Number            1569                                                       413.97-                     13,535.85
      03/19 LOWE'S #1146             EL PASO        TX                                           41.36-                    13,494.49
      03/19 LOWE'S #1146             EL PASO        TX                                           36.89-                    13,457.60
      03/19 LOVES CNTRY ST              EL PASO       TX                                         44.52-                    13,413.08
      03/20 O'REILLY AUTO PARTS SOCORRO                   TX                                     37.88-                    13,375.20
      03/21 AVANTE USA LTD                                                                   1,138.79-                     12,236.41
      03/21 GCC SUN CITY SECTIO                                                                  44.07-                    12,192.34
      03/21 VERMEER SALES SW-AZ                                                              3,186.30-                      9,006.04
      03/21 DITCH WITCH SOUTHWE                                                                  54.26-                     8,951.78
      03/21 LOVES CNTRY ST              EL PASO       TX                                         50.00-                     8,901.78
      03/21 LOVES CNTRY ST              EL PASO       TX                                         70.02-                     8,831.76
      03/21 ALON DK # 1490 GEOR EL PASO                 TX                                       75.00-                     8,756.76
      03/21 ALON DK # 1490 GEOR EL PASO                 TX                                       62.18-                     8,694.58
      03/21 CIRCLE K 01506 1500 EL PASO               TX                                         14.03-                     8,680.55
      03/21 COR-TEK POWER                                                                    2,662.59-                      6,017.96
      03/21 Check Number            1587                                                       556.86-                      5,461.10
      03/21 Check Number            1584                                                       166.23-                      5,294.87
      03/22 FOREMOST COUNTY BILLPAY                                                            639.56-                      4,655.31
      03/22 CHECK NUMBER                  1586                                                 676.80-                      3,978.51
      03/22 CHECK NUMBER                  1582                                                 576.45-                      3,402.06
      03/22 Loan from Tax Saving Acc                                                         3,000.00                       6,402.06
      03/22 Leo Week Salary                                                                  1,500.00-                      4,902.06
      03/22 ONE SOURCE FCU                                                                     802.00-                      4,100.06
      03/22 Check Number            1588                                                       528.70-                      3,571.36
      03/22 Check Number            1589                                                       786.50-                      2,784.86
      03/23 DITCH WITCH SOUTHWE                                                                120.43-                      2,664.43
      03/23 DITCH WITCH SOUTHWE                                                                  54.27-                     2,610.16
      03/24 VERMEER SALES SW-AZ                                                                242.55-                      2,367.61
      03/25 LOVES CNTRY ST              EL PASO       TX                                       100.39-                      2,267.22
      03/25 USPS PO 48285804 SOCORRO                    TX                                        7.20-                     2,260.02
      03/25 Deposit                                                                            255.94                       2,515.96
      03/25 Deposit                                                                          4,266.75                       6,782.71
      03/25 Deposit                                                                          2,340.12                       9,122.83
      03/25 O'REILLY AUTO PARTS EL PASO                 TX                                     156.70-                      8,966.13
                                                   ------------ Continued -------------
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************************************************* Checking Account                             *********************************************
      Date Description                                                                        Amount                          Balance
      03/25 FRANK S SUPPLY COMP                                                                    86.55-                     8,879.58
      03/25 Check Number            1583                                                         340.30-                      8,539.28
      03/25 Check Number            1585                                                         469.76-                      8,069.52
      03/26 O'REILLY AUTO PARTS SOCORRO                   TX                                     106.00-                      7,963.52
      03/26 Las Banderas Sto Horizon City TX                                                        9.10-                     7,954.42
      03/27 MURPHY6704ATWAL EL PASO                     TX                                         16.21-                     7,938.21
      03/27 MURPHY6704ATWAL EL PASO                     TX                                         78.50-                     7,859.71
      03/27 NNT HARBOR FREIGHT EL PASO                   TX                                      170.54-                      7,689.17
      03/28 BERKSHIRE HATHAWAY                                                                   357.80-                      7,331.37
      03/28 To Tax Savings Acc.                                                                2,000.00-                      5,331.37
      03/28 Leo Week Pay                                                                       1,500.00-                      3,831.37
      03/28 LOVES CNTRY ST              EL PASO       TX                                           60.00-                     3,771.37
      03/28 LOVES CNTRY ST              EL PASO       TX                                           80.00-                     3,691.37
      03/28 LOVES CNTRY ST              EL PASO       TX                                           50.04-                     3,641.33
      03/28 HORIZON                EL PASO        TX                                               74.00-                     3,567.33
      03/28 Check Number            1580                                                         431.38-                      3,135.95
      03/28 Check Number            1594                                                         664.92-                      2,471.03
      03/29 Loan from Tax Saving Acc                                                           2,000.00                       4,471.03
      03/29 LOVES CNTRY ST              EL PASO       TX                                           41.00-                     4,430.03
      03/29 LOVES CNTRY ST              EL PASO       TX                                         100.00-                      4,330.03
      03/29 LOVES CNTRY ST              EL PASO       TX                                            3.64-                     4,326.39
      03/29 CHECK NUMBER                  1590                                                   656.80-                      3,669.59
      03/29 NST THE HOME DEPOT EL PASO                   TX                                        21.02-                     3,648.57
      03/29 MINICONCRETE MATERI                                                                  503.37-                      3,145.20
      03/29 Check Number            1595                                                         424.81-                      2,720.39
      03/29 Check Number            1597                                                           75.00-                     2,645.39
      03/29 Check Number            1596                                                         786.50-                      1,858.89
      03/30 Loan from Tax Saving Acc                                                           3,000.00                       4,858.89
      03/30 O'REILLY AUTO PARTS HORIZON CITY TX                                                    50.83-                     4,808.06
      03/31 Las Banderas Sto Horizon City TX                                                       80.00-                     4,728.06
      03/31 Las Banderas Sto Horizon City TX                                                       80.00-                     4,648.06
      03/31 LOWE'S #1146             EL PASO        TX                                             40.88-                     4,607.18
      03/31 S&S EL PASO                                                                        1,342.59-                      3,264.59
      03/31 JOBE MATERIALS, L.P                                                                  118.70-                      3,145.89
      03/31 Check Number            1592                                                         430.46-                      2,715.43
      03/31 Check Number            1581                                                         250.00-                      2,465.43
      03/31 Service Charge                                                                         41.70-                     2,423.73
Checks in Order
              Date            Number              Amount                   Date           Number             Amount
              03/02            1430                300.00                  03/14           1573*              677.40
              03/04            1546*               396.18                  03/14           1574               376.33
              03/02            1548*               599.20                  03/14           1575               556.45
              03/03            1552*               759.30                  03/15           1577*             2000.00
              03/01            1553                556.45                  03/17           1578              1500.00
              03/01            1555*              3097.00                  03/28           1580*              431.38
              03/01            1556               2000.00                  03/31           1581               250.00
              03/10            1557                909.33                  03/25           1583*              340.30
              03/08            1558                250.00                  03/21           1584               166.23
              03/04            1559                399.96                  03/25           1585               469.76
              03/11            1561*               391.09                  03/21           1587*              556.86
              03/07            1562                217.02                  03/22           1588               528.70
              03/11            1563                540.04                  03/22           1589               786.50
              03/07            1565*               639.98                  03/31           1592*              430.46
              03/07            1566                459.44                  03/28           1594*              664.92
              03/08            1567                556.45                  03/29           1595               424.81
              03/18            1569*               413.97                  03/29           1596               786.50
              03/14            1570                390.18                  03/29           1597                75.00
              03/17            1571                550.13

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***************************************************** Checking Account                          ******************************************
                    Date          Number               Amount            Date        Number               Amount

                       (*) Check Numbers Missing

                                      AGGREGATE OVERDRAFT AND RETURNED ITEM FEES
                Total for this period                  #     Total Fees    #   Refunds/Corrections
                Total Overdraft Fees**                   0     $0.00         0      $0.00
                Total Returned Item* Fees                0     $0.00         0      $0.00
                Total year-to-date                     #     Total Fees    #   Refunds/Corrections
                Total Overdraft Fees**                   0     $0.00         0      $0.00
                Total Returned Item* Fees                3     $88.50        0      $0.00
                *Returned Items include non-sufficient funds (NSF) charges for checks, debit card transactions, and
                automated clearing house (ACH) transactions.
                **Total overdraft fees include overdraft privilege fees and uncollected funds fees.
Account Summary
 Previous Statement Date: 02/28/22
       Beginning                                      Interest                             Service                  Ending
         Balance       +       Deposits       +          Paid      - Withdrawals     -     Charge          =       Balance
       38,464.60              48,368.55                    .00        84,367.72             41.70                 2,423.73
Statement from 03/01/22 Thru 03/31/22
**************************************************** Summary of Deposit Accounts *****************************************************
    AP              Account                    Balance     Int-Rate%         YTD-Int        YTD-Penalty              Maturity
    CK              8505783                   2,423.73          0.000           .00
